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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

ARICKA L. ROYALTY,                                                                    Plaintiff,

v.                                                             Civil Action No. 3:17-cv-196-DJH

TRANS UNION, LLC,                                                                   Defendant.

                                           * * * * *

                                             ORDER

         Plaintiff Aricka L. Royalty filed a notice of voluntary dismissal with prejudice as to

claims asserted against Defendant Trans Union, LLC. (Docket No. 12) Accordingly, and the

Court being otherwise sufficiently advised, it is hereby

         ORDERED that Plaintiff’s claims against Defendant Trans Union, LLC stand

DISMISSED with prejudice and are STRICKEN from the Court’s active docket.
August 21, 2017




                                                              David J. Hale, Judge
                                                           United States District Court




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